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                                  UNITED STATES DISTRICT COURT
                                       District of Connecticut


       Theodora F. Antar
                      Plaintiff

                        V.

                                                                  Case No.· - - - - - - - -
       Matthew J. Lodice
                      Defendant

                                  NOTICE OF PRO SE APPEARANCE

       To: The clerk of court and all parties of record, I am representing myself in the matter
       above.

       07/24/2023
               Date                                               Filer's signature

                                                    Theodora Antar
                                                                  Printed name

                                                    856 Shagbark Drive
                                                                  Address

                                                   Orange, CT, 06477
                                                                  City, State, Zip Code

                                                   203-273-8419
                                                                    -       --   -   -------   --

                                                                  Telephone number




                                        CERTIFICATE OF SERVICE

       I hereby certify that on 07/24/2023                   a copy of foregoing was filed
       electronically and served by mail on anyone unable to accept electronic filing. Notice of
       this filing will be sent by e-mail to all parties by operation of the Court's electronic filing
       system or by mail to [Below list the names and addresses of anyone unable to accept
       electronic filing] as indicate on the Notice of Electronic Filing. Parties may access this
       filing through the Court's CM/ECF System.
Listhere: Matthew John Lodice Pro, Se
       48 Quarry Hill Rd, Waterbury, CT,
       06706
       T: (203) 919-9528 C: (860) 518-2388                        Filer's signature
       matthewlodice@gmail.com

       Rev. 8/11/15
